                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                   )
                                           )     No. 3:11-00012
v.                                         )     Judge Sharp
                                           )
SHATIKA DIX [6]                            )
                                           )


                                        ORDER

       Pending before the Court is Defendant’s Motion to Continue Sentencing Hearing (Docket

No. 2335) to which the Government does not oppose.

       The motion is GRANTED. The sentencing hearing scheduled for October 27, 2014, is

hereby rescheduled for Wednesday, January 7, 2015, 1:30 p.m.

       It is so ORDERED.




                                          KEVIN H. SHARP
                                          UNITED STATES DISTRICT JUDGE




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